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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MONTANA
                                  BUTTE DIVISION

                                                       Cause No. CV-20-2-BU-BMM-KLD
KEVIN WASHINGTON,

                          Plaintiff,              DEFENDANT’S BRIEF IN SUPPORT OF
       vs.                                           OPPOSED MOTION TO STAY
                                                          PROCEEDINGS
MATTHEW BRENT GOETTSCHE,

                     Defendant.


       COMES NOW the above named Defendant, through Counsel, and gives the following brief

in support of his motion to stay proceedings while the Defendant’s criminal case is pending in the

District of New Jersey.

                           FACTUAL AND PROCEDURAL HISTORY

       The Plaintiff in this case filed a complaint in the Montana Second Judicial District Court,

Butte Silver Bow County on December 26, 2019. The Defendant removed the case to this Court

on January 7th, 2020. The Complaint is included as Exhibit A.

       On December 5, 2019, the Defendant was indicted by a federal grand jury in the United

States District Court, District of New Jersey, 2:19-CR-877 (CCC). In connection with his arrest,

the government seized the Defendant’s phone, computers and files. He is currently detained



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pending the resolution of his bail motion in the District of New Jersey. Accordingly, the Defendant

has no access to the information necessary to respond to the Complaint.

       The Plaintiff explicitly relies on the allegations in the Indictment to form the basis of both

of his claims and explicitly incorporates it by reference into the Complaint. See Complaint at 3,

n.1, ¶ 13-19, 27-28. For example, the Plaintiff alleges that the Defendant “was using CyptoWatt’s

[sic] Butte Bitcoin mining facility as part of or to facilitate the crimes he was allegedly committing

as alleged in the Indictment,” Complaint ¶ 16, and “Through the conduct described in the

Indictment resulting in his arrest and detention pending trial, Matthew Brent Goettsche breached

his fiduciary duty to Kevin Washington, the minority owner of Crypto Watt Investment Partners,

LLC,” Complaint ¶ 19. The Complaint also alleges that the Defendant generally defrauded the

Plaintiff by using the facility “as his personal piggy bank to make outside investments” and

deposited the proceeds of Cryptowatt into accounts seized by the U.S. Government pending

forfeiture. See Complaint ¶ 28.

                                      LEGAL STANDARD

       A district court may exercise its discretion stay civil proceedings pending the outcome of

parallel criminal proceedings. See Am. Motorists Ins. Co. v. Bridger Pub. Sch. Dist. #2, No. 06-

CV-124-BLG-RFC-CSO, 2007 WL 1227592, at *2 (D. Mont. Apr. 24, 2007) (staying civil

discovery while pre-Indictment criminal investigation by United States Attorney’s office was

pending). In determining whether to stay civil proceedings while parallel criminal proceedings

are pending, courts must consider the particular circumstances and competing interests involved,

and should consider (1) the extent to which the defendant’s Fifth Amendment rights are implicated,

(2) the plaintiff’s interest in proceeding expeditiously, (3) the burden the proceedings may impose

on the defendant, (4) the convenience of the court and the efficient use of judicial resources, (5)




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the interests of persons not parties to the civil litigation, and (6) the interest of the public in the

pending civil and criminal litigation. CQI, Inc. v. Mountain W. Farm Bureau Ins. Co., No. CV

08-134-BLG-CSO, 2011 WL 13196191, at *1 (D. Mont. Aug. 29, 2011) (citing Keating v. Office

of Thrift Supervision, 45 F.3d 322, 324 (9th Cir. 1995)) (granting motion to stay).

                                            ARGUMENT

        Analysis of the above factors weighs in favor of staying this action while the District of

New Jersey criminal proceeding is resolved. Staying this proceeding is necessary to protect the

Defendant’s Fifth Amendment rights in his criminal case before the District of New Jersey and

prevent him from being prejudiced in this action. The Plaintiff explicitly relies on the facts alleged

in the Indictment in the Complaint; answering the complaint or responding to it in any way may

implicate the Defendant’s Fifth Amendment rights.            In addition, the Defendant would be

prejudiced by continuing to litigate this action without access to material information and

documents.

        I. Answering the Complaint Implicates the Defendant’s Fifth Amendment Rights

        “The strongest case for a stay of discovery in the civil case occurs during a criminal

prosecution after an indictment is returned.” Am. Motorists Ins. Co., 2007 WL 1227592, at *2

(quoting Walsh v. Cristo Property Management, Ltd., 7 F.Supp.2d 523, 527 (D.N.J. 1998))

(staying discovery). The possibility for self-incrimination is greatest at this stage, and the potential

harm to civil litigants arising from delaying the case is reduced due to the promise of a fairly quick

resolution of the criminal case under the Speedy Trial Act. Id. at *2. This is precisely the

circumstances presented here.

        The Plaintiff’s claims before this Court specifically rely on the allegations in the

Indictment, which was attached to the Complaint and incorporated by reference. See, e.g.,




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Complaint at 3 n.1, ¶ 18 (“Being charged with the crimes alleged in the Indictment and arrested

by federal authorities makes it impossible for Matthew Brent Goettsche to exercise the authority

and carry out the duties and responsibilities he exclusively possesses as the Managing Member of

CryptoWatt Investment Partners, LLC…”), ¶ 19 (“Through the conduct described in the

Indictment resulting in his arrest and detention pending trial, Matthew Brent Goettsche breached

his fiduciary duty to Kevin Washington, the minority owner of Crypto Watt Investment Partners,

LLC.”). It is clear that if the Defendant is required to answer the complaint or otherwise proceed

with this civil case, his Fifth Amendment rights may be implicated.

       The Fifth Amendment privilege against self-incrimination protects a person not only from

being a witness against himself in a criminal proceeding, but also privileges him from having to

answer in a civil proceeding if an answer might incriminate him in a criminal proceeding.

Lefkowitz v. Turley, 414 U.S. 70, 77, 94 S.Ct. 316 (1973). In the civil context, the invocation of

the privilege is limited to those circumstances in which the person invoking the privilege

reasonably believes that his disclosures could be used in a criminal prosecution, or could lead to

other evidence that could be used in that manner. See United States v. Bodwell, 66 F.3d 1000,

1001 (9th Cir. 1995). “[T]he ‘privilege against self-incrimination does not depend upon the

likelihood, but upon the possibility of prosecution’ and also covers those circumstances where the

disclosures would not be directly incriminating, but could provide an indirect link to incriminating

evidence. Doe v. Glanzer, 232 F.3d 1258, 1263 (9th Cir. 2000) (quoting United Liquor Co. v.

Gard (In re Seper), 705 F.2d 1499, 1501 (9th Cir. 1983)) (emphasis in Seper).

       Here, because the Complaint alleges that the Defendant utilized Cryptowatt’s facilities and

proceeds to further the criminal acts described in the Indictment and that the Defendant defrauded

the Plaintiff, in order to defend this action the Defendant will need to make representations to the




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Court about what occurred between the parties. However, any representations made by the

Defendant in this action could be used against him in his criminal case or implicate his Fifth

Amendment rights. Simply put, the Defendant should not be forced to choose between invoking

his Fifth Amendment rights and defending himself in this action.

       II. The Plaintiff’s Interest In Proceeding Expeditiously Is Outweighed By the Burden

of the Proceedings on the Defendant

       Putting aside the Defendant’s Constitutional Rights, which are paramount here, the

Defendant will be irreparably prejudiced by being forced to litigate without access to any

information relevant to this action. As mentioned above, the Defendant is currently detained in

the District of New Jersey and all of his computers and files were seized by the government. He

therefore has no access to any documents or communications that may be relevant to this action,

and is not able to easily communicate with counsel on a regular basis. Without a stay, the

Defendant is forced to litigate this action with one hand tied behind his back.

       By contrast, the Plaintiff will not be prejudiced by a stay of this action. The Court has

already appointed a Receiver to administrate CryptoWatt’s business and the Plaintiff’s business

interests are represented in communications with the Receiver. Any other interest the Plaintiff has

in this action, such as a prompt resolution of his claims, is plainly trumped by the Defendant’s

interest in protecting his constitutional rights. As this Court recognized in American Motorists,

the possibility of a long delay in this case is reduced by the nature of the Speedy Trial Act

requirements that the criminal case be resolved quickly. Am. Motorists Ins. Co., 2007 WL

1227592, at *2. Accordingly, the second and third factors identified in Keating weigh in favor of

a stay. See. CQI, Inc., 2011 WL 13196191, at *1-2.

       III. The Remaining Factors Support a Stay




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       The remaining factors – the convenience of the court and the efficient use of judicial

resources, the interests of third parties, and the interest of the public in both actions – are neutral

or weigh in favor of a stay.

       If the Court stays this action at this stage, pre-answer and before discovery has begun, it

will avoid unnecessary delays caused by the Defendant’s inability to access information. Staying

the action will actually conserve judicial resources until such time that the Defendant is

meaningfully able to participate in the litigation. See CQI, Inc., 2011 WL 13196191, at *2.

       The Defendant is unaware of any third parties who have an interest in this litigation,

meaning this factor weighs in favor of a stay. See CQI, Inc., 2011 WL 13196191, at *2. The last

factor, the public interest, is neutral because “neither the criminal action nor this action appear to

carry any greater public interest than other matters pending in this Court.” Id.

                                              CONCLUSION

       The Court should issue an order staying all proceedings in this case until the criminal

case is resolved. The Defendant will provide notice to the Court upon resolution or termination

of the criminal case.

       RESPECTFULLY SUBMITTED this 7TH day of February, 2020.

                                                       SMITH & STEPHENS, P.C.

                                                       by: /s/John E. Smith
                                                            John E. Smith
                                                        Attorney for Defendant




                                    CERTIFICATE OF SERVICE

        I hereby certify that on the 7th day of February, 2020, a copy of the foregoing document




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was served on the following persons by the following means:

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1.      CLERK, UNITED STATES DISTRICT COURT

2.      Kris McLean


By: /s/ John E. Smith
John E. Smith
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